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17                     UNITED STATES DISTRICT COURT
18
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

19   JENNY LISETTE FLORES; et al.,         )   Case No. CV 85-4544
                                           )
20
             Plaintiffs,                   )   Defendants’ Ex Parte Application for
21                                         )   Partial Reconsideration of Order
22
                  v.                       )   Appointing Special
                                           )   Master/Independent Monitor;
23   JEFFERSON B. SESSIONS III,            )
24   Attorney General of the United States;)   Memorandum of Points and
     et al.,                               )   Authorities;
25
                                           )
26           Defendants.                   )   Declaration.
                                           )
                                           )   [Hon. Dolly M. Gee]
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 1
                         Defendants’ Ex Parte Application for
                      Partial Reconsideration of Order Appointing
 2                       Special Master/Independent Monitor
 3
           Pursuant to Local Rule 7-19, Defendant the U.S. Department of Health and
 4

 5   Human Service, Office of Refugee Resettlement (“ORR) hereby applies ex parte for
 6
     partial reconsideration of this Court’s October 5, 2018 Order Appointing Special
 7

 8   Master/Independent Monitor (“Monitoring Order”). Specifically, ORR asks the
 9
     Court to reconsider the Monitoring Order to the extent that it expands, without
10
     notice, the scope of the monitor’s oversight to include ORR’s compliance with this
11

12   Court’s July 30, 2018 order finding ORR in partial breach of the Flores Settlement
13
     Agreement. The relief is being requested on an ex parte basis because ORR had no
14

15   notice or opportunity to respond to the appointment of a monitor to oversee ORR
16
     prior to the issuance of the Monitoring Order late in the day on October 5, 2018,
17

18
     which was the Friday before a federal holiday, and because effective date of this

19   unexpected Monitoring Order against ORR is less than two weeks later on October
20
     17, 2018.
21

22         Counsel for Plaintiffs are:
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14
           Counsel for Defendants, Sarah B. Fabian left a telephone message for
15
     counsel for Plaintiffs Peter Schey on October 12 2018, but received no return call.
16

17   See Declaration of Sarah B. Fabian ¶ 3 (attached hereto). Counsel for Defendants
18
     also reached out to counsel for Plaintiffs Peter Schey, Carlos Holguin, and Holly
19

20   Cooper, by email on October 12, 2018 and offered to discuss the subject of this
21
     Application. Id. ¶ 4. Mr. Holguin responded by stating: “Please advise the Court
22

23
     that Plaintiffs oppose your ex parte application and request five business days

24   following service of the ex parte application to present written arguments in
25
     support of their opposition.” Id. Given that the effective date of the Monitoring
26

27   Order is October 17, 2018, Defendants oppose Plaintiffs’ request for five business
28
     days to respond to Defendants’ Application. Id. ¶¶ 5-6. If the Court is inclined to

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 1
     grant Plaintiffs five business days to respond, Defendants ask that the Court stay

 2   the effective date of the Monitoring Order with regard to ORR until the Court has
 3
     the opportunity to rule on Defendant’s Application.
 4

 5         This ex parte application is based upon this Application, the attached
 6
     memorandum of points and authorities, the attached declaration, and the records in
 7

 8   this case.
 9
     DATED:       October 12, 2018          Respectfully submitted,
10
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11
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12            Monitoring Order to Exclude ORR……………………………….12
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 3         567 F.3d 930 (7th Cir. 2009)………………………………………….12
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14

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 1
                         Memorandum of Points and Authorities
 2      I.     INTRODUCTION
 3
             Defendant the U.S. Department of Health and Human Service, Office of
 4

 5   Refugee Resettlement (“ORR”), hereby moves for partial reconsideration of the
 6
     Court’s October 5, 2018 Order Appointing Special Master/Independent Monitor,
 7

 8   ECF No. 494 (“Monitoring Order”), to the extent that this order without notice, and
 9
     with an effective date less than two weeks after issuance, expands the scope of the
10
     monitor’s oversight to include ORR’s compliance with this Court’s July 30, 2018
11

12   order finding ORR in partial breach of the Flores Settlement Agreement. To be clear,
13
     all Defendants continue to object to the imposition of the sanction of a monitor
14

15   without any finding that any Defendant is in breach of the Agreement by clear and
16
     convincing evidence, and without any basis to conclude that any “exceptional
17

18
     condition” exists that would justify the Monitor’s appointment. However,

19   reconsideration is appropriate as to ORR because while U.S. Customs and Border
20
     Protection (“CBP”), and U.S. Immigration and Customs Enforcement (“ICE”), have
21

22   had the opportunity to raise their arguments in opposition to the appointment of a
23
     monitor before this Court, thus providing Defendants CBP and ICE the ability to
24

25   readily appeal this Court’s Monitoring Order, the sanction of a special monitor is
26
     imposed on ORR in the Monitoring Order despite the facts that Plaintiffs never
27
     requested such a monitor in the underlying enforcement motion against ORR, and
28




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 1
     ORR had no notice that the Court was considering whether to appoint a monitor, and

 2   no opportunity to defend against the imposition of this sanction.
 3
           In imposing this sanction against ORR, the Court relies entirely on a single
 4

 5   declaration in a separate case to which ORR had no opportunity to respond. And
 6
     unlike CBP and ICE, ORR has been provided no opportunity to develop evidence of
 7

 8   its own compliance through internal monitoring by a Juvenile Coordinator. This
 9
     single declaration in a separate case provides no basis at all to impose the sanction
10
     of a monitor on ORR in this litigation. Further, even if it were an adequate basis to
11

12   impose such a sanction, the scope of any resulting monitoring should be limited to
13
     the allegations of continued breach addressed in that declaration.
14

15         Accordingly, ORR requests that this Court reconsider its Monitoring Order to
16
     the extent that it includes broad monitoring of ORR’s compliance with the Court’s
17

18
     July 30 Order based only on this minimal and limited evidence of any purported

19   breach of the Agreement by ORR. Instead, ORR asks the Court to remove ORR from
20
     the scope of the existing Monitoring Order, and set a briefing schedule which would
21

22   permit ORR to respond to the declaration the Court relies on in its finding of
23
     noncompliance against ORR. Following that briefing, if the Court continues to
24

25   believe that monitoring is necessary, then ORR should be permitted to conduct a
26
     period of internal monitoring by a Juvenile Coordinator as was permitted for CBP
27
     and ICE. Finally, at a minimum, ORR asks that if the Court proceeds with allowing
28




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 1
     the monitor to oversee ORR, then the Court should make clear that any such

 2   monitoring is expressly limited to the allegations of noncompliance contained in the
 3
     declaration upon which the Court’s Monitoring Order relies with regard to ORR.
 4

 5      II.      BACKGROUND
 6
                 A. Enforcement Proceedings Against HHS
 7

 8            On April 16, 2018, Plaintiffs filed a motion to enforce the Flores Settlement
 9
     Agreement (ECF No. 409), claiming that ORR was in breach of the Agreement in
10
     three ways: (1) improperly placing class members in Residential Treatment Centers
11

12   (“RTCs”), staff-secure facilities, and secure facilities; (2) administering
13
     psychotropic drugs to Class Members without first obtaining a court order or the
14

15   informed consent of a person authorized by state law to approve such decisions; and
16
     (3) unnecessarily prolonging Class Members’ detention in ORR facilities. To cure
17

18
     these alleged breaches, Plaintiffs requested that the Court order a number of

19   procedural remedies that were not otherwise provided for within the Agreement.
20
              The Government opposed Plaintiffs’ motion on numerous grounds (ECF No.
21

22   425). First, the Government argued that the Court should not impose on ORR
23
     procedural remedies that are contained nowhere within the terms of the Agreement
24

25   itself. Second, the Government contended that ORR’s use of RTCs, staff-secure
26
     facilities, and secure facilities, was not in violation of the Agreement. Third, the
27
     Government asserted that ORR’s medication practices comply with the Agreement.
28




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 1
      And fourth, the Government argued that ORR’s practices for the release of class

 2    members does not violate the Agreement.
 3
            On July 30, 2018, this Court granted in part and denied in part Plaintiffs’
 4

 5    motion to enforce. Order, July 30, 3018, ECF No. 470. As a preliminary matter, the
 6
      Court noted that Plaintiffs sought procedural remedies not otherwise set forth in the
 7

 8    Flores Agreement, and denied Plaintiffs’ request for such remedies, concluding that
 9
      “on this motion to enforce, Plaintiffs are entitled to only such relief as is explicitly
10
      or implicitly authorized by the Flores Agreement.” Id. at 2-6. Notably, in so finding,
11

12    the Court concluded that ordering such extraneous relief, outside the contours of
13
      what is required by the Agreement itself, would require that the court apply the “clear
14

15    and convincing evidence” standard. Id. at 3-4. The Court also concluded that the
16
      TVPRA did not supersede any of the provisions of the Flores Agreement at issue in
17

18
      Plaintiffs’ motion, “because the two can be easily reconciled and Congress did not

19    explicitly abrogate Class Members’ rights under the Agreement.” Id. at 9.
20
            The Court then turned to Plaintiffs’ specific allegations of breach. First, the
21

22    Court analyzed Plaintiffs’ claim that ORR violated the Agreement in making its
23
      placement decisions. Id. at 9-20. With regard to Shiloh RTC, the Court concluded
24

25    that the level of security at that facility necessitated a finding that a minor presents
26
      a risk of harm to self, others, or the community before a minor could remain in, or
27
      be placed at, the facility. Id. at 10. , The Court ordered Defendants to: 1) transfer all
28




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 1
      class members out of Shiloh RTC unless a licensed psychologist or psychiatrist has

 2    determined or determines that a particular class member poses a risk of harm to self
 3
      or others; 2) cease employing at Shiloh RTC any security measures that are not
 4

 5    necessary for the protection of minors or others, such as the denial of access to
 6
      drinking water; and 3) permit Class Members at Shiloh RTC to “talk privately on
 7

 8    the phone, as permitted by the house rules and regulations.” Id. at 13-14.
 9
            The Court also evaluated whether ORR provided proper notice and
10
      opportunity to be heard when placing class members into secure or medium-secure
11

12    facilities. Id. at 15-20. The Court cited to Declarations provided by Plaintiffs alleging
13
      that class members had not received imminent notice, Id. at 16-17, and found that
14

15    Defendants’ policy contained some grounds that were an improper basis for
16
      placement into a secure facility. Id. at 19. On this point then, the Court order
17

18
      Defendants: 1) to comply with Paragraph 24C by providing each Class Member with

19    a written notice of reasons for placing him or her in a secure facility, staff-secure
20
      facility, or an RTC within a reasonable time of ORR’s placement decision in a
21

22    language that the Class Member understands; and 2) “to remove from a secure
23
      facility any Class Member who was placed or whose placement has been maintained
24

25    there solely because: the Class Member “may be chargeable” (as opposed to “is
26
      chargeable”) with an offense; the Class Member reported gang involvement or
27
      displayed gang affiliation while in care and Defendants lack probable cause to
28




                                                 5
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 1
      believe that the individual committed any other specified offense; and/or the Class

 2    Member self-disclosed gang involvement prior to placement in ORR custody that
 3
      does not give rise to probable cause to believe that the individual has committed a
 4

 5    specified offense.” Id. at 19-20.
 6
            Second, the Court analyzed ORR’s provision of psychotropic medications to
 7

 8    class members at Shiloh RTC. Id. at 20-24. The Court held that under the Agreement,
 9
      ORR was required to ensure that the shelter complies with Texas law and ensure
10
      administration of medication in accordance with such law. The Court analyzed state
11

12    law and found that such law requires parental consent, or a court order. Id. at 20-21.
13
      The Court further found that there was evidence that ORR’s practices at Shiloh did
14

15    not comply with the Court’s reading of what Texas law required. Id. at 21-23.
16
      Accordingly, the Court ordered ORR to “comply with all Texas child welfare laws
17

18
      and regulations governing the administration of psychotropic drugs to class members

19    at Shiloh RTC, and specifically to “do the following before administering any
20
      psychotropic medication to a Class Member at Shiloh RTC: (1) provide the
21

22    disclosure required by 26 Texas Administrative Code section 748.2253 to a “person
23
      legally authorized to give medical consent” as that term is defined in 26 Texas
24

25    Administrative Code section 748.43(47), and (2) obtain the written consent of that
26
      person in accordance with 26 Texas Administrative Code sections 748.2001 and
27
      748.2253. If Defendants are not able to obtain such informed written consent, then
28




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 1
      they may not administer the psychotropic medication to the Class Member unless

 2    they obtain a court order authorizing them to do so under Texas law or there is an
 3
      “emergency” as that term is defined in Texas Family Code section 266.009 and 26
 4

 5    Texas Administrative Code section 748.2257. If Defendants administer
 6
      psychotropic medication on an emergency basis, then Defendants shall adhere to all
 7

 8    of the notification and documentation requirements imposed by Texas Family Code
 9
      section 266.009 and 26 Texas Administrative Code section 748.2257.” Id.at 23-24.
10
            Finally, the Court analyzed whether ORR’s release procedures violate the
11

12    Agreement. Id. at 24-30. In general, the Court found that “ORR does not violate the
13
      Flores Agreement merely because it unilaterally determines the suitability criteria
14

15    for potential sponsors.” Id. at 25. The Court also found that generally ORR’s release
16
      practices did not constitute unreasonable delay, and in many instances “appear to be
17

18
      reasonably calculated to protect Class Members from ‘harm or neglect’ and to ensure

19    that they have an adequate ‘standard of care.’” Id. at 25-26. The Court did find,
20
      however, that some of ORR’s practices violate the Agreement. Specifically, the
21

22    Court found that director review 1 created unnecessary delay in certain instances, Id.
23
      at 27-29, and ordered ORR “to cease requiring ORR Director or designee approval
24

25    prior to release of Class Members who: (1) were previously placed in secure or staff-
26

27
      1
28     At the time of the Court’s Order, Director review had ceased pursuant to the
      Order in L.V.M. v. Lloyd, 318 F.Supp.3d 601 (S.D.N.Y. 2018).

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 1
      secure facilities but have since been transferred to less restrictive settings; (2)

 2    prevailed on their Flores bond hearings; and/or (3) were placed in secure or staff-
 3
      secure facilities based on incomplete, inaccurate, or erroneous information.” Id. at
 4

 5    29. The Court also found that a blanket policy requiring post-release services to be
 6
      in place could violate the Agreement in some cases, and ordered ORR “to cease
 7

 8    uniformly requiring post-release services to be in place before the release of a Class
 9
      Member to a sponsor. Such detention shall be permitted if and only if ORR conducts
10
      an individualized assessment and determines that, given the particularized needs of
11

12    the Class Member, the sponsor would not be a suitable custodian if such post-release
13
      services were not in place prior to release.” Id. at 29-30.
14

15          On September 27, 2018, Defendants filed a notice of appeal of the Court’s
16
      July 30, 2018 Order to the U.S. Court of Appeals for the Ninth Circuit. ECF No.
17

18
      490. On October 10, 2018, Plaintiffs filed a cross-appeal of this order. ECF No. 496.

19          On October 5, 2018, this Court issued its Monitoring Order, and without
20
      warning to ORR, appointed the monitor to have oversight of ORR’s compliance with
21

22    this Court’s July 30, 2018 order. The Court’s sole basis for this appointment was a
23
      declaration filed in a separate matter, which the Court stated “attests that ORR has
24

25    failed to transfer any Class Members out of Shiloh RTC or modify the agency’s
26
      policies regarding the administration of psychotropic medication to Class
27

28




                                                 8
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 1
      Members.” Monitoring Order at 5-6. Notably, ORR never had any opportunity to

 2    respond to this minimal evidence in the course of that separate litigation.
 3
               B. Enforcement Proceedings against CBP and ICE
 4

 5          At the same time that the above motion was being considered by this Court,
 6
      the Court also was overseeing the resolution of an unrelated enforcement motion
 7

 8    filed by Plaintiffs on May 29, 2016 against CBP and ICE. ECF No. 201. That motion
 9
      alleged breaches of the settlement agreement related to conditions at CBP facilities,
10
      and related to ICE’s procedures and ICE family residential centers, and sought the
11

12    appointment of a special monitor in conjunction with those alleged breaches.
13
      Defendants opposed Plaintiffs’ motion. ECF No. 208. During the course of the
14

15    ongoing litigation on this motion, Defendants ICE and CBP argued repeatedly that
16
      the Court should not impose the remedy of appointing a special monitor unless it
17

18
      found that Defendants were in breach of the settlement agreement by “clear and

19    convincing” evidence. See ECF No. 256 at 2 n.1; ECF No. 268 at 7.
20
            On June 27, 2017, the Court issued an order finding Defendants ICE and CBP
21

22    in breach of the Agreement. ECF No. 363. The Court explicitly rejected Defendants’
23
      contention that the Court should apply the clear and convincing standard, finding
24

25    that in their motion, “Plaintiffs make no attempt to hold Defendants in civil
26
      contempt.” ECF No. 363 at 3. In so holding, however, the Court did not address
27
      Plaintiffs’ request that the Court appoint a special monitor, and the Court did not
28




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 1
      order the appointment of a special monitor at that time. Id. at 32-33. Instead, the

 2    Court ordered that Defendants ICE and CBP appoint a Juvenile Coordinator in
 3
      accordance with Paragraph 24.A of the Agreement, and that the Juvenile
 4

 5    Coordinator should then be responsible for monitoring compliance with the Court’s
 6
      order and with the Settlement Agreement. Id.
 7

 8          Following that order, CBP and ICE each appointed a Juvenile Coordinator,
 9
      and each Juvenile Coordinator submitted quarterly reports to the Court. Following a
10
      year of monitoring this this fashion, the Court held a status conference on July 27,
11

12    2018, and at that status conference stated its intent to appoint a special
13
      master/independent monitor because of the conflicting evidence submitted by
14

15    Plaintiffs, and by ICE and CBP with regard to the compliance of Defendants ICE
16
      and CBP with the Agreement. ECF No. 469. At that status conference, counsel for
17

18
      the government reiterated Defendants’ objections that a monitor should not be

19    appointed unless the Court found Defendants in breach under the heightened clear
20
      and convincing evidentiary standard, but the Court again rejected this argument.
21

22    Following several submissions by Plaintiffs and by Defendants ICE and CBP at the
23
      request of the Court, the Court issued its Monitoring Order.
24

25

26

27

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 1
         III.   ARGUMENT
 2              A. Legal Standard for Reconsideration
 3
            The Local Rules require in order to obtain reconsideration of a Court’s order,
 4

 5    a party must show: “(a) a material difference in fact or law from that presented to
 6
      the Court before such decision that in the exercise of reasonable diligence could not
 7

 8    have been known to the party moving for reconsideration at the time of such
 9
      decision, or (b) the emergence of new material facts or a change of law occurring
10
      after the time of such decision, or (c) a manifest showing of a failure to consider
11

12    material facts presented to the Court before such decision.” Civ. L.R. 7-18. “Motions
13
      for reconsideration are disfavored and rarely granted.” Brown v. United States, 2011
14

15    WL 333380, *2 (C.D. Cal. Jan. 31, 2011). “Whether to grant a motion for
16
      reconsideration under Local Rule 7-18 is a matter within the court’s discretion.”
17

18
      Daghlian v. DeVry Univ., Inc., 582 F. Supp. 2d 1231, 1251 (C.D. Cal. 2007).

19          Here, Defendant ORR meets the standard for reconsideration because ORR
20
      had no opportunity in the underlying litigation to object to the imposition of a
21

22    monitor to oversee its compliance with the Agreement. Specifically, no such remedy
23
      was ever requested by Plaintiffs against ORR, and the Court never indicated that it
24

25    was considering appointing a monitor to oversee ORR. Thus, at the time of the
26
      Court’s Monitoring Order, even with reasonable diligence, ORR could not have
27
      raised to the Court its arguments against such an appointment because it had no idea
28




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 1
      that any such appointment was contemplated. Relatedly, ORR also had no notice or

 2    opportunity to be heard regarding the appointment of a monitor as required by Rule
 3
      53(b)(1). Accordingly, reconsideration of this Court’s Monitoring Order with regard
 4

 5    to its appointment of a monitor against ORR is appropriate.
 6
               B. The Court Should Reconsider The Scope of Its Monitoring Order to
 7                Exclude ORR
 8
            In this case, the appointment of a monitor is being used as a coercive remedy
 9

10
      to ensure Defendants’ future compliance with the Agreement. Notably, nothing in
11    the Flores Agreement provides for independent monitoring of Defendants’
12
      compliance with its terms. By imposing a remedy for breach that is outside the terms
13

14    of the Agreement, the Court is in effect imposing a sanction on Defendants for
15
      breach of the Agreement, and such a remedy should only be imposed if the Court
16

17    finds that Defendants are in breach of the Agreement by clear and convincing
18
      evidence. See Bailey v. Roob, 567 F.3d 930, 934-35 (7th Cir. 2009) (“The parties
19
      agree that this circuit's case law requires the party seeking sanctions to demonstrate
20

21    that the opposing party is in violation of a court order by clear and convincing
22
      evidence.”); Kelly v. Wengler, 822 F.3d 1085, 1097 (9th Cir. 2016) (discussing how
23

24    court-ordered remedies designed to ensure compliance with a settlement agreement,
25
      and to cure breach, are properly considered under civil contempt standards). Indeed,
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27
      this Court specifically recognized that this is the standard that applies where the
28    Court is asked to impose remedies for breach of the Agreement that are not


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      “explicitly or implicitly authorized by the Flores Agreement.” Order, ECF No. 470,

 2    at 3. And the Court relatedly declined to find that ORR was in breach under this
 3
      heightened standard. Id.
 4

 5          In light of the fact that this Court’s appointment of a monitor results from
 6
      allegations of breach of a settlement agreement, the Court’s reliance on case law
 7

 8    providing for a monitor in circumstances not involving a consent decree is
 9
      misplaced. See Monitoring Order at 6 (citing Fed. R. Civ. P. 53(a); Hook v. State of
10
      Ariz., 120 F.3d 921, 926 (9th Cir. 1997); United States v. Suquamish Indian Tribe,
11

12    901 F.2d 772, 774–75 (9th Cir. 1990)). In the cited cases, the Ninth Circuit found an
13
      appointment of a monitor was warranted under the “exceptional conditions”
14

15    provision of Rule 53 because of the complexity of the cases and a need to monitor
16
      because of previous noncompliance by the Defendants with the court’s order. Hook,
17

18
      120 F.3d at 926; Suquamish Indian Tribe, 901 F.2d at 774. But neither of those cases

19    considered a situation where a monitor was being appointed to oversee compliance
20
      with a consent decree, agreed to by the parties, in which the parties had already
21

22    specifically delineated the rights and obligations of the parties, the manner in which
23
      the decree was to be monitored, and the method by which the parties to the
24

25    agreement could seek redress for violations of the Agreement. In a case such as this
26
      one, mere findings of “complexity” and “ongoing disputes” should not be considered
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      sufficient “exceptional conditions” to warrant imposition of a monitor. Because this
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      Court has explicitly declined to find ORR in breach by clear and convincing

 2    evidence, the Court should reconsider its appointment of a monitor with regard to
 3
      ORR.
 4

 5           Further, even if the “exceptional conditions” standard does apply here without
 6
      regard to the fact that this case concerns a consent decree, the Court’s findings in the
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 8    Monitoring Order with regard to ORR do not establish that this standard has been
 9
      met. The Court’s sole stated basis for its appointment of a monitor with regard to
10
      ORR was its reference to a declaration filed in a separate matter, which the Court
11

12    stated “attests that ORR has failed to transfer any Class Members out of Shiloh RTC
13
      or modify the agency’s policies regarding the administration of psychotropic
14

15    medication to Class Members.” Monitoring Order at 5-6. The Court does not explain
16
      how this declaration establishes “complexity” or “ongoing disputes” with regard to
17

18
      ORR’s compliance with the Agreement, particularly where ORR never had any

19    opportunity to respond to this minimal evidence in the course of that separate
20
      litigation. Moreover, while ostensibly limited to the July 30 Order, the Appointment
21

22    is expandable beyond even that order, allowing the Monitor to evaluate “other Court
23
      orders issued during the Term,” and to discover new “potential breaches of the Flores
24

25    Agreement that are beyond the scope of the . . . July 30, 2018 Orders.” Monitoring
26
      Order at 6-7. Even under the more lenient Rule 53(a) standard, there is no basis for
27
      the Court to appoint a monitor to oversee ORR’s compliance with the Court’s July
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      30 Order, or especially to expand even beyond such Order to other orders issued

 2    during the term of the appointment or to license additional investigations for
 3
      breaches.
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 5          Finally, at a minimum, considering the procedural posture of this case with
 6
      regard to ORR and the minimal evidence upon which the Court is relying to find that
 7

 8    ORR is not in compliance with the Court’s July 30 Order, the Court should
 9
      reconsider its order to either: 1) allow ORR the same opportunity for internal
10
      monitoring and the development of evidence of compliance by a Juvenile
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12    Coordinator before an outside monitor is appointed that was provided to ICE and
13
      CBP; or 2) specifically limit the Monitor’s oversight with regard to ORR to Shiloh,
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15    and to the specific assertions of non-compliance contained in the declaration upon
16
      which the Court relies.
17

18
            Accordingly, ORR requests that this Court reconsider its Monitoring Order to

19    the extent that it includes broad monitoring of ORR’s compliance with the Court’s
20
      July 30 Order based only on this minimal and limited evidence of any purported
21

22    breach of the Agreement by ORR. Instead, ORR asks the Court to remove ORR from
23
      the scope of the existing Monitoring Order, and set a briefing schedule which would
24

25    permit ORR to respond to the declaration the Court relies on in its finding of
26
      noncompliance against ORR. Following that briefing, if the Court continues to
27
      believe that monitoring is necessary, then ORR should be permitted to conduct a
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 1
      period of internal monitoring by a Juvenile Coordinator as was permitted for CBP

 2    and ICE. Finally, at a minimum, ORR asks that if the Court proceeds with allowing
 3
      the monitor to oversee ORR, then the Court should make clear that any such
 4

 5    monitoring is expressly limited to the allegations of noncompliance contained in the
 6
      declaration upon which the Court’s Monitoring Order relies with regard to ORR.
 7

 8       IV.    CONCLUSION
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             For all of the above reasons, the Court should reconsider its Monitoring Order
10
      to exclude ORR from the scope of monitoring. Instead, the Court should set a
11

12    briefing schedule which would permit ORR to respond to the declaration the Court
13
      relies on in its finding of noncompliance against ORR. Following that briefing, if
14

15    the Court continues to believe that monitoring is necessary, then ORR should be
16
      permitted to conduct a period of internal monitoring by a Juvenile Coordinator as
17

18
      was permitted for CBP and ICE. Finally, at a minimum, if the Court proceeds with

19    allowing the monitor to oversee ORR, then the Court should make clear that any
20
      such monitoring is expressly limited to the allegations of noncompliance contained
21

22    in the declaration upon which the Court’s Monitoring Order relies with regard to
23
      ORR.
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 1
      DATED: October 12, 2018           Respectfully submitted,

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 1                              CERTIFICATE OF SERVICE
 2          I hereby certify that the foregoing document filed through the ECF system
 3    will be sent electronically to the registered participants as identified on the Notice of
 4    Electronic Filing and paper copies will be sent to those indicated as non-registered
 5    participants.
 6
      DATED: October 12, 2018                  /s/ Sarah B. Fabian
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